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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.10/03)
                          6/03) Judgment in a Civil Case



                                          United States District Court
                                                 Southern District of Georgia
                  FELICIA MICHELLE CULLARS,

                             Plaintiff,
                                                                                   JUDGMENT IN A CIVIL CASE


                                            V.                                   CASE NUMBER:        CV 120-068

                  MR. PATEL MUNISHA and MRS. FNU
                  MUNISHA,

                            Defendants.




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                    IT IS ORDERED AND ADJUDGED
                    that, in accordance with the Court's Order of August 20, 2020, the Report and Recommendation

                    of the Magistrate Judge is ADOPTED as the opinion of the Court. Plaintiff's complaint is

                    DISMISSED for failure to state a claim upon which relief can be granted, and this civil action

                    stands CLOSED.




            08/20/2020                                                         John E. Triplett, Acting Clerk
           Date                                                                Clerk



                                                                               (By) Deputy Clerk
GAS Rev 10/1/03
